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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

          v.                                                       Criminal Action No.
                                                                   16-cr-10343-ADB
MICHAEL BABICH
                                                                   Leave to File Sur-Reply
                 Defendant                                         Granted Jan. 21, 2020



      MICHAEL BABICH’S SUR-REPLY TO GOVERNMENT’S MOTION
                  FOR ORDERS OF FORFEITURE




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                                          INTRODUCTION

        The government filed its motion for forfeiture against Mr. Babich on December 17, 2019

(ECF No. 1052) (Gov’t Forfeiture Motion). On January 6, 2020, Mr. Babich filed his opposition (ECF

No. 1125), and the government replied on January 15, 2020 (ECF No. 1148) (Gov’t Forfeiture Reply).

Mr. Babich files this sur-reply to address certain issues in the government’s reply brief.

        The government’s reply brief leaves the misimpression that the forfeiture sought against Mr.

Babich in this case is commonplace and run-of-the-mill. It is not. In fact, the government’s position

here is entirely novel. Not one of the cases it cites deals with forfeiture of stock option proceeds

under 18 U.S.C. § 981 and how to trace share value to illegal transactions, let alone proceeds from

stock options received long before any illegal conduct occurred. In seeking to take every dollar, cent,

and share of stock that Mr. Babich ever received at Insys (including the imputed “value” of shares he

never sold for money he never obtained), the government is seeking to carve out a position on

forfeiture under ordinary mail fraud and conspiracy law that is even broader than the RICO forfeiture

it is pursuing against the other defendants. See, e.g., United States v. Defries, 129 F.3d 1293, 1314 (D.C.

Cir. 1997) (stating that RICO statute is intended “to provide an extreme remedy for an extreme

situation”). That extraordinary position is without legal support and is directly undermined by the

plain language of the narrower § 981 forfeiture statute and the facts of this case.

        The government’s forfeiture position is a bridge too far. This Court should limit forfeiture to

the $3.5 million the government previously determined at sentencing was justified after years of

investigation.

I.      THE GOVERNMENT’S REPLY INCORRECTLY SHIFTS THE BURDEN OF PROOF

        The government’s reply is more remarkable for what it doesn’t say than what it does. The

government sets up a strawman argument to knock down easily, claiming that Mr. Babich has argued

that trial evidence is off-limits to prove forfeiture. Not so. Mr. Babich has invited the government to



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meet its burden to cite trial evidence for purposes of showing this Court (i) which illegal bribes and

practitioners caused which sales, or otherwise were related to which false IRC statements, which

insurers, and which paid claims, (ii) how many sales were impacted, (iii) how any of those illegal

transactions impacted the market price for Mr. Babich’s stock sales over time, and (iv) how other

factors, such as legal sales and unrelated market conditions, impact the forfeiture claim. See ECF No.

1125 at 3 (noting government “does not cite any trial evidence whatsoever in its forfeiture motion”).

       Instead of engaging with the evidence in that way, the government simply invents a

“permeated with fraud” forfeiture standard that has never been recognized in the First Circuit, stating

conclusively that this “Court has ample evidence in the record to support a finding that Insys was

permeated with fraud.” ECF 1148 at 2. But how so? Mr. Babich did not plead guilty to racketeering

conspiracy where the entire enterprise may be at issue through indirect forfeiture. What evidence

would allow this Court to order forfeiture of the entire value of every share Mr. Babich acquired at

any time (even if not sold and no money realized), as if Insys were an entirely fictional sham company

for an entirely fictional sham product? The government does not say.

       The reality is that the evidence introduced at trial cannot support such a sweeping argument.

The government narrowly focused its case at trial on 10 co-conspirator practitioners (out of

thousands) and a small number of patients (out of tens of thousands). The government’s own expert

“analysis” of the 10 co-conspirator practitioners demonstrated that they accounted for only 11% of

at-issue Medicare reimbursements, and then applied a further set of assumptions about off-label use

as a proxy for fraud. See Declaration of Michael J. Petron, ECF No. 1035-2; see also Babich Motion

for Proposed Alternative Loss Methodology, ECF No. 1126 at n.11 and accompanying text. Whatever

little the government has done to connect the forfeiture dots, it does not come close to carrying its

burden of proving which proceeds Mr. Babich obtained as the result of illegal transactions.




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II.     THE GOVERNMENT CONTRADICTS ITSELF & APPLIES THE WRONG STANDARD: A
        “MONEY JUDGMENT” OF FORFEITURE UNDER 18 U.S.C. § 981(A)(2)(B) IS LIMITED TO
        THE NET PROCEEDS ACTUALLY TRACEABLE TO THE OFFENSE

        The government has sought forfeiture against Mr. Babich under 18 U.S.C. § 981(a)(1)(C)

which subjects to forfeiture “[a]ny property, real or personal, which constitutes or is derived from

proceeds traceable to a violation of [specified statutes], or a conspiracy to commit such offense.”

(emphasis added). In its initial motion for forfeiture, the government acknowledged that only funds

“traceable” to a crime are forfeitable. See Gov’t Forfeiture Motion, ECF No. 1052 at p. 2 (“Defendant

must forfeit any property, real or personal, which constitutes or is derived from proceeds traceable to a

violation of, or conspiracy to commit, specified unlawful activity.”) (emphasis added). Remarkably, in

its reply brief, the government abandons that clear statutory requirement and now argues that, because

it is seeking a money judgment, “tracing is not necessary.” Gov’t Reply in Support of Motion for

Orders of Forfeiture, ECF No. 1148 at 3.

        The critical flaw in the government’s argument is the assumption that pursuing a money

judgment forfeiture suspends its burden to prove which illegal transactions (e.g., which bribes, related

false IRC statements, and which sales) resulted in Mr. Babich obtaining which shares and which

proceeds when sold. As discussed in Mr. Babich’s opposition brief (ECF No. 1125), the proper

starting place is an accurate calculation of the “proceeds” of the crime. Depending on the nature of

the crime, federal law provides two different definitions of the “proceeds” that are subject to

forfeiture. 18 U.S.C. § 981(a)(2)(A)–(B). “In cases involving illegal goods, illegal services [and]

unlawful activities,” the term “proceeds” means “property of any kind obtained directly or indirectly,

as a result of the commission of the offense giving rise to the forfeiture, and any property traceable

thereto.” Id. § 981(a)(2)(A). “In cases involving lawful goods or lawful services that are sold or

provided in an illegal manner, the term ‘proceeds’ means the amount of money acquired through the

illegal transactions resulting in the forfeiture, less the direct costs incurred in providing the goods or



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services.” Id. § 981(a)(2)(B). Put differently, § 981(a)(2)(B) “does not explicitly render property

forfeitable if that property is an indirect fruit of the crime”; it requires a defendant to forfeit only the

crime’s “net proceeds.” United States v. George, 886 F.3d 31, 40 (1st Cir. 2018) (emphasis added).

Therefore, under § 981(a)(2)(B)—which Mr. Babich contends is the clearly correct statutory definition

of proceeds, as discussed below—the government must first prove by a preponderance of the

evidence the amount of money Mr. Babich acquired directly “through the illegal transactions.”

        The government seeks to sidestep this evidentiary burden by arguing that the Court should

begin its analysis by calculating the gross amount of money Mr. Babich indirectly received through his

employment at Insys. See Gov’t Forfeiture Motion at 4. Citing to a single district court case in the

Southern District of New York, the government contends that “[t]he calculation of proceeds begins

the same whether the Court applies the gross proceeds rule of 18 U.S.C. § 981(a)(2)(A) or the net

proceeds rule of 18 U.S.C. § 981(a)(2)(B).” That is not the law in the First Circuit.

        The First Circuit has repeatedly confirmed that identifying which of the two relevant statutory

definitions of “proceeds” applies is the correct first step in the analysis. See, e.g., George, 886 F.3d at 40

(recognizing that “the classification of an offense of conviction can have profound effect on the

amount that may be subject to forfeiture in a particular case,” and starting the analysis with the

identification of § 981(a)(2)(A) as the proper statutory reference in light of the facts of that case);

United States v. Carpenter, 941 F.3d 1, 7-8 (1st Cir. 2019) (starting the analysis by affirming the district

court’s use of § 981(a)(2)(B)); United States v. Gorski, 880 F.3d 27, 41 (1st Cir. 2018) (starting analysis

by recognizing the parties’ agreement that § 981(a)(2)(B) was proper definition of proceeds).

        In this case, § 981(a)(2)(B), or the net proceeds provision, is the correct definition of proceeds.

Section 981(a)(2)(B) applies when “the crime [ ] involve[s] a good or service that could, hypothetically,

be provided in a lawful manner.” George, 886 F.3d at 40. This definition applies to the conduct here

by its plain language. Subsys was undoubtedly a lawful product that was sold, at times, in an unlawful



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manner. It requires no hypothetical scenario to contemplate lawful sales of Subsys. They happened,

as the evidence at trial proved and by the government’s own acknowledgements, and those lawful

sales continue to this day.1 The government argues in its reply for a different conclusion by

conveniently redefining the manner in which Subsys was sold. The government asserts that the “crux”

of the crime was “insurance fraud,” but the fact that some sales of Subsys—a “lawful good”—

involved insurance fraud does not remove this case from § 981(a)(2)(B). The facts as applied to clear

statutory language makes it plain that this case “involv[es] lawful goods . . . that [were] sold or provided

in an illegal manner,” as § 981(a)(2)(B) contemplates.

        The government attempts to buttress its shaky position in reply by stating that “[t]he First

Circuit recently opined, without deciding, that mail and wire fraud might fall into the gross proceeds

rule.” Gov’t Forfeiture Reply at 5 (citing Carpenter, 941 F.3d at 8 n.4.). In fact, the cited First Circuit

decision actually approved of the district court’s choice of § 981(a)(2)(B) in a mail and wire fraud case.

The full relevant passage reads:

                  The district court’s forfeiture order determined, contrary to the position of the
        prosecution, that the statutory provision governing Carpenter’s case was 18 U.S.C. §
        981(a)(2)(B). The district court reasoned that as a textual matter, although “[m]ail and
        wire fraud might arguably be called ‘unlawful activities’” under § 981(a)(2)(A), that
        section explicitly mentions “telemarketing and health care fraud schemes.” Specifically
        listing these two fraud schemes “would be unnecessary . . . if the generic term ‘unlawful activities’ had
        been intended to be broad enough to encompass fraud schemes.” Further, the district court
        concluded that “lawful services” being “provided in an illegal manner” was a more
        “apt” description for running a [property exchange] intermediary through mail and
        wire fraud.

                There was no error in the district court’s choice to use § 981(a)(2)(B). In George
        II, we explained that to fall under § 981(a)(2)(B), “the crime must involve a good or
        service that could, hypothetically, be provided in a lawful manner,” while activities


1
  The government’s reply asserts that Mr. Babich argues that the government must “prove lack of
medical necessity” to count amounts Mr. Babich received as “proceeds.” ECF 1148 at 4. Mr. Babich
argues no such thing. Mr. Babich’s opposition rebutted the government’s assumption that the Insys
business was inherently unlawful by observing that the company sold—and sells—a lawful product,
and many sales were—and are—entirely legitimate, medically necessary, and benefit patients in need
of treatment.


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          falling under § 981(a)(2)(A) are “inherently unlawful.” George II, 886 F.3d at 40. There,
          we determined that the defendant’s crime, embezzling funds from a federally funded
          organization, “[could not] be done lawfully” and so fell under § 981(a)(2)(A).

                   By contrast, Carpenter’s conviction arose out of how he solicited customers
          for and made misrepresentations about his [property exchange] intermediary
          company. Advertising and running such a business are not “inherently unlawful”
          activities; rather, Benistar provided what could have been a “legal service,” but which
          Carpenter operated in an illegal manner by misrepresenting to exchangors how their
          funds would be invested and investing contrary to those representations.

United States v. Carpenter, 941 F.3d 1, 7-8 (1st Cir. 2019) (quotations and alterations in original, emphasis

added).

          The government’s heads-I-win-tails-you-lose argument posits, incorrectly, that this Court

must “find that insurance fraud can somehow be done lawfully” to rule in Mr. Babich’s favor. See

Gov’t Forfeiture Reply at 5. The First Circuit has recognized that it is appropriate to apply

§ 981(a)(2)(B) to some cases involving fraud. In United States v. Gorski, 880 F.3d 27, 41 (1st Cir. 2018),

the Court concluded that § 981(a)(2)(B)—the “net profits” provision—was appropriate in a wire fraud

and conspiracy case involving the “knowing[] procur[ement of] government contracts for

[defendant’s] construction company on the false premise that the company was owned and controlled

by military veterans who became disabled in connection with their military service.”                  By the

government’s logic, the “crux” of the crime in that case was “government contracting fraud,” so the

court should have applied § 981(a)(2)(A) since “government contracting fraud” cannot “be done

lawfully.”    Yet, the First Circuit effectively disavowed that view, and agreed in Gorski that

§ 981(a)(2)(B) was the correct statute in a money judgment forfeiture case.

          The flaw in the government’s “money judgment” position is further exposed by its own

methodology, which double-counts through the money judgment $10,238,989.84 in stock option

exercise value that Mr. Babich never obtained. Rather, he held those shares after exercising his

options—and never sold then and realized any value, to this very day. They are worth only about

$26,000 today if sold, not the $10,238,989.84 that comprises part of the government’s $37,768,992.04


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forfeiture demand.2 But true to form, the government asks the Court to forfeit those held stocks, too,

regardless of the extraordinary and unjustified imputed value that has never been shown to be an

obtained “proceed” of any illegal transaction. The government’s money judgment methodology is

anomalous, internally inconsistent, and not supported by the law or facts.

       For those reasons, § 981(a)(2)(B) contains the correct definition of proceeds for the conduct

at issue here. Pursuant to that provision, the only amounts subject to forfeiture are the amounts the

government can prove Mr. Babich acquired “through the illegal transactions.” As discussed below,

that amount is far less than the government’s requested amount.

III.   THE GOVERNMENT’S REPLY FAILS TO ADDRESS ITS SHIFTING POSITIONS ON THE
       AMOUNT OF MR. BABICH’S “PROCEEDS”

       As Mr. Babich’s opposition brief explains, when the government sought a temporary

restraining order against $3.5 million of his assets in 2017, and affirmed that amount at Mr. Babich’s

January 2019 guilty plea consistent with Department of Justice policy, it took the position that the

$3.5 million sought were the proceeds that Mr. Babich received during the conspiracy. See ECF No.

1125 at 10-11 (quoting government statements that the $3.5 million constituted the criminal proceeds

and that other funds “seemingly unrelated to criminal proceeds” were commingled in Mr. Babich’s

bank account; and that the $3.5 million constituted “the proceeds this defendant personally

obtained”).   The government’s reply made no effort to reconcile these drastically different

understandings of the relevant proceeds, and it presumably has no answer. As we explained in our



2
   Mr. Babich retains 436,068 Insys shares that he exercised during the conspiracy period. See also
Gov’t Forfeiture Reply, ECF No. 1148 at 2 n.1 (explaining government’s revised calculations include
“the total taxable compensation or amount subject to alternative minimum tax (“AMT”) based on
addition by Federal Bureau of Investigations Forensic Accountant Horan, of taxable compensation
or, if the stock was not immediately sold, amount subject to AMT, as reported by Solium Capital
business records.”). See also Exhibit B to Mr. Babich’s PSR Objection letter, transmitted to the
government, to Probation, and to the Court contemporaneously with this filing. The forfeiture of a
imputed, historic share value on stock never sold with no proceeds actually realized only magnifies
the constitutional issue describe below in Section V.


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opposition brief, an amount up to $3.5 million is an appropriate amount of forfeiture here. To go

beyond that amount requires proof that the government has failed to provide.

IV.       MR. BABICH’S NET PROCEEDS ARE FAR LESS THAN THE FORFEITURE AMOUNT
          SOUGHT BY THE GOVERNMENT

          As noted at the outset, the government’s forfeiture request for over $37 million here is broad

and novel. There is no authority in the context of 18 U.S.C. § 981 to claim that the full value of stock

option exercises and sales that relate to a variety of untainted business activities are forfeitable, and

the government cites none. Instead, it appears as though the government is attempting to shoehorn

Mr. Babich into a RICO-like forfeiture posture, perhaps in an attempt to achieve “consistency” with

the other defendants who were convicted of different crimes. Compare 18 U.S.C. § 1963(a)(2)

(permitting forfeiture of “any . . . security of . . . any enterprise” in violation of RICO), with 18 U.S.C.

§ 981(a) (permitting forfeiture of “proceeds” of offenses). Regardless of the reason, the government’s

formulation is wrong.

          Under the government’s view, “[b]ut-for the crime, Babich would not have obtained his salary,

bonus, car allowance, or proceeds from the receipt of stock options and liquidation of Insys stock.”

Gov’t Forfeiture Reply at 4. Yet this simply is not so. For example,

      •   Mr. Babich worked for Insys for years before the government alleges any impropriety at the

          company began;

      •   Mr. Babich earned many of his stock options and other accrued assets well before 2012. In

          fact, he was granted nearly half of all his stock options in February 2010 and March 2011, long

          before Subsys was even approved for sale by the FDA in January 2012; and

      •   Mr. Babich drew a manager-level salary before Subsys was approved for sale by the FDA, and

          he would have continued to be compensated at that level regardless of the allegations in this

          case.



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        It simply is not true that “but for” the crime, Mr. Babich would have received none of that

compensation from Insys. Mr. Babich fully acknowledges that the fraud may have been one of many

factors that affected the value of some of his shares and stock options that were issued before the

fraud. But it is not the case that Mr. Babich received those stock benefits only because of the fraud,

or that the shares/options would have lacked any value in the absence of any fraud. The issue,

therefore, is how to account for the value that the fraud caused Mr. Babich to realize. Using the

terminology of § 981(a)(2)(B), the net proceeds that Mr. Babich received “through the illegal

transactions” are the amounts over and above what he would have received as Chief Executive Officer

of Insys absent the fraud.

        While it is the government’s burden to prove Mr. Babich’s proceeds, Mr. Babich offers the

following (1) to aid the Court to illustrate one example of what an appropriate analysis of “proceeds”

might entail, (2) to provide an obvious rejoinder to the unproven suggestion that all sales and all share

prices are the results of kickbacks and related insurance fraud:

        •   During the conspiracy period (2012-2015), Insys reported an average of $185.66 million

            per year in revenue from the sale of Subsys. In 2018, two years after the racketeering

            conspiracy ended, and well after Defendant Dr. John Kapoor was indicted and had

            resigned from Insys’s Board of Directors (and the medical community was aware of the

            allegations at issue), Insys reported $78.76 million in net Subsys revenue. Using full-year

            2018 sales as a baseline to account for some external market factors that would

            approximate Subsys sales unaffected by the conspiracy, that approach provides that at least

            42.42% of annual net revenue could be argued as presumably unaffected by the conspiracy,

            prior to other adjustments within the conspiracy period.

        •   In government’s discovery provided to Mr. Babich, and following the government’s

            clarification of its forfeiture numbers, see ECF 1148 at n.1, it is now apparent that Mr.


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           Babich obtained $14.78 million in net compensation from sales of Insys stock between

           January 1, 2012 and December 31, 2015.3 Based on the percentage calculated above, one

           approach could be to assume that at least 42.42% of the $14.78 million, or $6.27 million,

           was not derived from the criminal conspiracy due to external market factors, before

           evaluating other factors within the conspiracy period that may have accounted for

           appropriate sales of the remaining $8.51 million of Mr. Babich’s net stock sales before

           determining illegal proceeds.

       •   Any number of additional proxies might assist a fact-finder in further separating legal sales

           from “proceeds” obtained as a result of illegal transactions within the conspiracy period.

           For example, the government employed an analogous approach to loss that focused “on

           claims paid by Medicare,” – presumably because it thought the evidence was better and

           more specific to Medicare fraud than the byzantine and inconsistent payer rules of

           commercial carriers. See ECF No. 1126 at 12 (noting government trial evidence of IRC

           calls focused on Medicare beneficiaries). The government claimed that approximately

           40.7% of Subsys sales in the relevant period were reimbursed by Medicare.4 See Final Pre-

           Sentence Report at 28. Applying that percentage to the $8.51 million calculated above,

           results in $3.46 million of Medicare-related proceeds from Mr. Babich’s Insys stock sales


3
   The $14.78 million obtained by Mr. Babich is net of state and federal taxes withheld and paid
following the sales of Insys stock, and also includes withholdings and payments made for FICA and
Medicare on behalf of Mr. Babich. Accordingly, he never “obtained” these funds as proceeds.
Withholdings and tax payments were all tracked and accounted for by Insys’ stock plan administrator,
Solium Capital, and preceded disbursement of funds following and of Mr. Babich’s sales of Insys stock
during the time period. After conferring about the basis of the forfeiture estimates and underlying
Solium Capital records, and despite disagreement on the proper measure of forfeiture (gross vs net)
both the government and Mr. Babich have now corrected inaccurate estimates in their opening briefs.
See Gov’t Motion, ECF No. 1052 at 2 and Babich Opposition, ECF No. 1125 at 10, n.9.
4
  “All of claims to insurers for Subsys prescriptions from 2012-2015 amounted to $652 million….
From 2012-2015, Medicare paid approximately $265,809,293 for all of the practitioners who wrote
prescriptions for Subsys.” Final Pre-Sentence Report at 28.


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           in the relevant time period—an amount less than the $3.5 million Mr. Babich has already

           agreed to forfeit.

               Still other proxies could be applied in the same manner to identify “proceeds,”

           regardless of the type of payer, such as the roughly 50% difference in insurance approval

           rates between the third party vendor (Apricot) and the in-house IRC rate during the

           conspiracy (again resulting in a number less than $3.5 million). The government also could

           have used a “bottom up” approach to establish, based on trial evidence, which co-

           conspirator practitioners received bribes, which allegedly false and material IRC calls

           related to their patients, whether the insurance company approved the claim, and what

           those potential traceable proceeds would be. See ECF 1126 at 9–13 (providing bottom up

           example of analysis resulting in less than $3.7 million in sales). But the government

           performed none of those kind of analyses here, leaving the Court and Mr. Babich instead

           with an expansive “permeated with fraud” standard that is not the law and comes nowhere

           close to proving which stock sale amounts were proceeds.

       Finally, under the § 981(a)(2)(B) analysis, the government asserts in its reply that “tax payments

are not a direct cost” that is subject to a net proceeds calculation. See ECF No. 1148 at 4–5. Again,

the government goes too far. Only one First Circuit decision addresses (without deciding) the issue,

and to our knowledge, no other circuit courts have determined whether personal income tax payments

constitute a direct cost available to offset the amount of proceeds acquired.5

       Fortunately, such case law is not needed to interpret the plain language of the statute, which

answers the question unambiguously. Section 981(a)(2)(B) provides that direct costs do not include



5
  The defendant in United States v. Gorski, 880 F.3d 27, 42 (1st Cir. 2018) argued that personal income
taxes he paid should be credited as “direct costs” under Section 981(a)(2)(B)’s definition of proceeds.
The First Circuit did not have an opportunity to fully evaluate the argument because the defendant
did not present the argument to the district court, nor did he develop it at the appellate level.


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the “overhead expenses of the entity providing the goods or services, or any part of the income taxes

paid by the entity.” (Emphasis added). The statute does not address the defendant’s taxes, for good

reason. Under ordinary rules of statutory construction, the statute should be read according to its

plain terms—that is, that the defendant’s individual direct costs shall be excluded from the forfeiture

order, while the defendant’s direct costs obviously do not include the entity’s overhead or tax costs.

See, e.g., United States v. American Trucking Ass’ns, 310 U.S. 534, 543 (1940) (“There is, of course, no

more persuasive evidence of the purpose of a statute than the words by which the legislature

undertook to give expression to its wishes. Often these words are sufficient in and of themselves to

determine the purpose of the legislation. In such cases we have followed their plain meaning.”).

        That common-sense interpretation is the natural reading of the statute. See United States v.

Santos, 553 U.S. 507, 512 (2008) (Scalia, J., plurality opinion) (noting that § 981(a)(2)(A) uses the term

“proceeds” in the sense of “receipts” while § 981(a)(2)(B) uses the term in the sense of “profits”). If

individual tax payments by defendants were not excluded from forfeiture judgments under

§ 981(a)(2)(B), law-abiding and tax-paying defendants would be worse off by having paid taxes:

Defendants who paid taxes would not personally benefit from amounts paid as taxes and would have

to pay those amounts to the government again through forfeiture, while defendants who never paid

taxes and ran entirely fraudulent schemes would have to forfeit those amounts only once. Such an

interpretation does not make sense.

        Finally, Judge Stearns’ opinion in the Chin case is apt. In that case Judge Stearns found that

tax payments should be excluded from the broader and more punitive RICO forfeiture calculations—

a statute that provides less support than § 981(a)(2)(B) for deducting tax payments—because, he

reasoned, those tax payments were not “property the defendant actually acquired as a result of the

crime.” United States v. Chin, Mem. And Order on Forfeiture of Property, Case No. 1:14-cr-10363-




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RGS, ECF No. 1148 (filed Feb. 23, 2018). The same analysis should apply here to the narrower

§ 981(a)(2)(B), with even more force.

V.      THE GOVERNMENT’S FORFEITURE REQUEST VIOLATES THE EXCESSIVE FINES
        CLAUSE OF THE EIGHTH AMENDMENT

        In Mr. Babich’s opposition brief, we explained that the government’s requested forfeiture in

this case violates the Excessive Fines Clause of the Eighth Amendment because it is 172 times the

maximum fine recommended by the Sentencing Guidelines. The government responds in reply that

“[t]he maximum penalty, and not the guideline range, is the appropriate benchmark because the

‘statutory scheme is a better guide to whether the forfeiture order is excessive.’” Gov’t Forfeiture

Reply at 9. By “maximum penalty,” the government originally meant “not more than the greater of

twice the gross gain or twice the gross loss.” Id. (quoting 18 U.S.C. § 3571(d)). In this case, however,

the “maximum penalty” is $250,000, a conclusion confirmed by Probation after considering and

rejecting the government’s PSR objections here. See PSR Addendum at 49 (“the Probation Office

maintains that the statutory maximum fine cannot be based on twice the gross gain or loss”). The

government now appears to agree.

        In Apprendi v. New Jersey, 530 U.S. 466 (2000), the Supreme Court held that the Sixth

Amendment’s jury trial guarantee requires that any fact (other than the fact of a prior conviction) that

increases the maximum punishment authorized for a particular crime be proved to a jury beyond a

reasonable doubt. In Southern Union Company v. United States, 567 U.S. 343, 346 (2012), the Court held

that the Apprendi rule applies to the imposition of criminal fines. The Southern Union Court discussed

specifically the twice-the-gain-or-loss statute:

        The federal twice-the-gain-or-loss statute, in particular, has been used to obtain substantial
        judgments against organizational defendants. [ ] And where the defendant is an individual, a
        large fine may “engender ‘a significant infringement of personal freedom.’” . . . This is exactly
        what Apprendi guards against: judicial fact finding that enlarges the maximum punishment a
        defendant faces beyond what the jury’s verdict or the defendant’s admissions allow.

567 U.S. at 351-52.


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        Because neither a “gain” or “loss” amount was found by the jury beyond a reasonable doubt

or admitted by Mr. Babich, the maximum fine in this case must be limited to $250,000. The

government recently recognized this fact at Mr. Gurry’s sentencing on January 13, 2020. See Transcript

of Sentencing Hearing of Michael Gurry at 6 and 8 (“Mr. Yeager: . . . The government is agreeing that

for purposes—strike that—the government is agreeing the maximum fine here is $250,000 . . . .

Probation: It could be your honor. However, in this particular case it was a prior objection of the

government, and due to Apprendi there was no amount that was alleged or found by the jury. So,

therefore, it can’t be twice the gross gain or loss. It’s capped at the stat max at 250, and I think the

parties have ultimately agreed to that.”).6

        Accordingly, and taking into account the government’s revised calculation of Mr. Babich’s

stock option exercises,7 the forfeiture judgment now requested by the government in this case would

be 162 times the maximum statutory fine. As explained in Mr. Babich’s opposition brief, such a

forfeiture amount is grossly excessive in violation of the Excessive Fines Clause of the Eighth

Amendment to the United States Constitution, and neither the Supreme Court nor the First Circuit

has ever upheld a forfeiture so far in excess of the maximum.8




6
  The PSR calculates a fine range under the Sentencing Guidelines of between $30,000 and $300,000.
See PSR at 43. However, the PSR also correctly notes the statutory maximum fine of $250,000, which
controls here. See id. at 43 and 49. Even the highest end of Guideline fine range, an additional $50,000,
would make no difference under the case law and would be equally unconstitutional.
7
  See Gov’t Forfeiture Reply, ECF No. 1148 at n.1 (noting that it incorrectly represented Mr. Babich’s
stock option exercises in its motion for forfeiture and asserting that the revised amount is
$37,768,992.04). That amount, plus Mr. Babich’s non-stock compensation from 2013 – 2015 of
$2,794,819, equals a total requested forfeiture of $40,563,811.04.
8
  See also supra at n.2 and accompanying text (explaining that the government’s methodology double-
counts over $10.2 million in purported “value” of stock options that Mr. Babich never sold and from
which he never obtained any profit). This improper double-counting provides another basis for
finding the government’s requested forfeiture amount in violation of the Excessive Fines Clause.


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                                          CONCLUSION

           For the foregoing reasons, Mr. Babich respectfully requests that this Court deny the

government’s motion and instead enter an order of forfeiture of between $2.5 million and $3.63

million.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I served this document today by filing it using the Court’s CM / ECF

system, which automatically notifies the parties and counsel or record.




                                                              /s/ William H. Kettlewell
                                                              _________________________
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